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                                                  FILED20 FEB '1414:C.'7USDC-Il<P

                  IN THE UNITED STATES DISTRICT COURTFOR THE
                     DISTRICT OF OREGON PORTLAND DIVISION


 MILAUDIKARBOAU
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                                            District Court "eas~ - --
                                                                     -cv- 2 97
                                                                    - -              ~   U,
                        Plaintiff,

    vs.

 CITY OF PORTLAND; PORTLAND POLICE          COMPLAINT
 BUREAU (PPB); JIM LAWRENCE; DAVID
 ANDERSON; VIRGINIA ANNE
 ANDERSON; CARL ANN WILLIAMS, TOM
 BADRICK, KGW NEWS CHANNEL 8 TV;
 RICK JACOBS; THE MID-COUNTY MEMO
 NEWS PAPER AND PUBLISHING, INC;
 SEAN P. NELSON; DARLENE VINSON             JURY TRIAL DEMANDED
                     Defendants.



                   UNLAWFUL SLANDERING AND DEFAMATION


Plaintiff           MILAUDI KARBOAU, 7585 SW Hunzker. Street Apt 50 Tigard, Oregon
                    97223. (503) 421 0740. Email: milaudikarboau@yahoo.com

Defendant No. 1     CITY OF PORTLAND1221 SW 4th Avenue, Room 340, Portland, OR
                    97204_

Defendant No.2      PORTLAND POLICE BUREAU (PPB) 1111 SW 2nd Ave, Portland OR
                    97204.

Defendant No.3      DETECTIVE JIM LAWRENCE, PORTLAND POLICE BUREAU (PPB)
                    1111 SW 2nd Ave, Portland OR 97204.
Defendant No.4      DAVID ANDERSON, PORTLAND POLICE BUREAU (PPB) 1111 SW
                    2nd Ave, Portland OR 97204.

Defendant No.5      VIRGINIA ANNE ANDERSON, Plaintiff's ex neighbor. 10615 NE
                    Eugene Street, Portland, Oregon 97220.

Defendant No.6      CARL ANN WILLIAMS, The Parkrose Heights Association
                    ofNeighbors (PHAN) Board previous CHAIR and Acting SECRETARY.
                    1017 NE 117th Ave, Portland, OR 97220.



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Defendant No. 7        TOM BADRICK the current The Parkrose Heights Association
                       ofNeighbors (PHAN) Board CHAIR and Acting SECRETARY. 1017 NE
                       I 17th Ave, Portland, OR 97220.

Defendant No.8        KGWNEWS CHANNELS 8 TV. 1501 SW Jefferson St, Portland, OR
                      97201.

Defendant No.9        RICK JACOBS-KGW TV Executive News Director 1501 SW Jefferson
                      St, Portland, OR 97201.

Defendant No. 10      THE MID-COUNTY MEMO NEWS PAPER AND PUBLISHING, INC.
                      3510 N.E. 134th Ave., Portland, OR 97230.

Defendant No. II      DARLENE VINSON-THE MID-COUNTY MEMO NEWS PAPER AND
                      PUBLISHING, INC editor. 3510 N.E. 134th Ave., Portland, OR 97230.

DefendantNo. 12       SEANP. NELSON-THEMID-COUNTYMEMONEWSPAPERAND
                      PUBLISHING, INC. Reporter. 3510 N.E. 134th Ave., Portland, OR
                      97230.

Defendant No. 13      TIM CURRAN-THE MID-COUNTY MEMO NEWS PAPER AND
                      PUBLISHING, INC. Publisher. 3 510 N.E. I 34th Ave., Portland, OR
                      97230.


[x]    Federal Question

Preliminary Statement
                                                                                                       I
       This civil action by the Plaintiff Milaudi Karboau ''prose" against the City of Portland,

Portland Police Bureau (PPB), and its employees defendant detective Jim Lawrence and five

John Doe officers pursuant to 28 U.S.C § 1983 Plaintiff allege violation of his constitutional

rights alleging the defendants failed to return the seized property after it was no longer needed as

evidence.

I. JURISDICTION & VENUE

1.     This Court have jurisdiction over the Plaintiff's claims of violation of federal

constitutional rights pursuant to 42 U.S.C. §§1331(a) and 1343 (3)                                     I
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2.     The Court also has supplemental jurisdiction over the Plaintiff's states law tort claims

under 28 U.S.C. § 1367.Plaintiff seeks money damage and declaratory relief pursuant to 28

U.S.C. § 2201 and 2202. 28 U.S. C. § 2283 & 2284 and Rule 65 of the Federal Rules of Civil

Procedure authorize plaintiff's claims for injunction relief

3.     This United States District Court of District of Oregon is an appropriate venue under 28

U.S. C.§ 1391 (b)(2) because it is where the events giving rise to this claim occurred.

D. PLAINTIFF'S STATEMENT OF CLAIM

3.     Plaintiff claims that the above defendants violated his right by wrongfully slandering him

broadcasting him in the local newspaper and TV news channel. Defendants involved in the

slandering and defamation are as named above.

4.     The slandering and defamation was first initiated, planned and orchestrated by the

Plaintiff's neighbors, Defendant Virginia Anderson who is now deceased March 11, 2013, and her

son Defendant David Anderson who was then and now a Portland Police Bureau PPB Sergeant.

Prior to the plaintiff's arrest on February 4th, by the PPB officer Defendant Jim Lawrence for

attempting to receive stolen property Plaintiff and his neighbors (Virginia and her son David

Anderson) had a serious feud that led the Plaintiff to file multiple complaints with the Portland

Police Internal Affairs Review PIR and the Portland mayor's office against Defendant Anderson

and his now deceased mother Defendant Virginian. Defendant Anderson was ordered by his

superior lieutenant Mayciog, to stop his harassing Plaintiff. But the Defendant Anderson and his

mama did not stop there; they continue their harassment against the Plaintiff. The Defendant

Anderson and his mother Defendant Virginia harassment began when Plaintiff purchased his

house next to their house. The Defendants (Andersons) opposed the Plaintiff living next to them

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within the first week of the Plaintiffs moving in and blatantly told the Plaintiff that to move out

of (their neighborhood.

5.     After the Plaintiffs February 4th, 2002, arrest by Defendant Jim Lawrence he was

released on February 7th, on his own recognizes with Court date appearance of April 9, 2002.

Upon his release Plaintiffs neighbor Defendant David Anderson was waiting for him. Defendant

Anderson told the Plaintiff I learned about your arrest for receiving stolen property, and told the

Plaintiff that: I will use mv higher authoritv not some citv clerk and the local channel 8 T. V

news to have you re-a"ested. While on his own recognizance Defendant PPB Sergeant David

Anderson threat was fulfilled, on April 2nd, 2002, and before the Plaintiffs scheduled April 9th,

Court appearance, Defendant officer Jim Lawrence come to re-arrest the plaintiff for the same

charges he was arrest for on February charges, (double jeopardy) Plaintiff was put in the police

car and taken to jail, and Defendant Sergeant Anderson's higher authority began to work, since

then everything went wrong in the Plaintiff's trial and Plaintiff was maliciously convicted and

on December 19, 2002, Plaintiff was sentenced to 104 purportedly for receiving stolen, case No.

XX-XXXXXXX. State of Oregon vs. Karboau. In this case Plaintiff is not arguing his conviction or

sentencing. But he sure litigating the wrongful defamation and slandering that implemented by

the above named defendants. This lawsuit is timely file because Plaintiff did not discover or had

any knowledge nor has he been aware of the slandering and the defamation against him until he

got out from the prison and early February 2013 when he goggled his name and there comes his

story being slandered by the defendants the above named. It appears that in retaliation against

the Plaintiff by his neighbors the March 11, 2013 diseased Defendant Virginia; her son

Defendant David Anderson the PPB Sergeant and Defendant Jim Lawrence the PPB officer and

involving Defendant Carol Williams, Chair, of Parkrose Heights Association of Neighbors.



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(PHAN) of Northeast Portland, Oregon made up a story and contacted the local news channel 8

TV and the Mid County Memo newspaper, The articles read: POLICE DETERMINED

KARBOAU WAS USING IDENTITY THEFT TECHNIQUES TO PQRCHASE THE CARS

AND. OT,RER PROPERTY FRAUDULENTLY, ACTIONS REPORTED BY THE MID-

COUNTY MEMO AND BROADCAST BY NEWSCHANNEL 8.

6.     The untruthful news reported by the Newschannel 8 and the Mid County Memo was

taken directly from the mouth of the Portland Police Bureau PPB detective Jim Lawrence whom

he and other PPB officers were instigated by Defendant Sergeant David Anderson and his

mother Virginia Anderson to fulfill Sergeant David Anderson's February 7th, threat: I will use

my higher authority not some city clerk and the local channel 8 T. V news to have you re-               I
a"ested. The false publicity of TV broadcasting and newspaper articles during the Plaintiff's
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incarceration in the county jail influenced the trial Court to enhance and give the Plaintiff a harsh

sentencing. The Defendants again re-run the TV broadcasting and the newspaper articles shortly

after the Plaintiff was maliciously convicted and sentenced to 104 months for receiving stolen.

The Plaintiff's criminal record shows that he never been arrested, charged or convicted of
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purchasing cars with stolen credits card. The evidence will be available during the discovery.

7.     The Mid County Memo newspaper and the channel 8 TV news Defendants are as well

responsible for slandering and defamation damage for accepting to write and publicize the false

articles in newspaper and broadcasting it without the truth verification or contacting the Plaintiff.

8.     The Parkrose Heights Association ofNeighbors (PHAN) and The current Board

Members Tom Badrick CHAIR and Acting SECRETARY, and predecessor of the deceased and

previous Carl Ann Williams CHAIR and Acting SECRETARY are responsible for joining the




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PPB officers, and the Plaintiff's neighbor Virginia Anderson to influence the newspaper and TV

media to slander the plaintiff.

Respectfully submitted

Dated this 20th day of February 2014




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                                           Tigard, Oregon 97223
                                           Email: milaudikarboau@yahoo.com
                                           Home (503) 443-6420



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